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                     IN THE CIRCUIT COURT OF THE SIXTH JUDICIAL CIRCUIT
                            IN AND FOR PINELLAS COUNTY, FLORIDA
                                        CIVIL DIVISION

      JOHN AND DEBORAH ROZELLE,
      individuals,
                                                                    Case No.:   13- OICCQ:3-C.L
                Plaintiffs,
      v.

      WELLS FARGO BANK, N.A.,
      a national association,

                Defendant.
      ----------------------------~/
                                           VERIFIED COMPLAINT

                COME NOW, Plaintiffs, JOHN AND DEBORAH ROZELLE (hereinafter, "PlaintIffs"),

      by and through the undersigned counsel, and sue Defendant, WELLS FARGO BANK, N.A.,

      (hereinafter, "Defendant"), and allege:

                                        PRELIMINARY STATEMENT
                This is an action for damages brought by individual consumers for Defendant's violations

      of the Florida Consumer Collection Practices Act, Chapter 559, Florida Statutes (hereinafter, the

      "FCCPA") and the Telephone Consumer Protection Act, 47 U.S.C. Section 227 (hereinafter, the

      "TCPA").

                                         JURISDICTION AND VENUE

                1.      This is an action for damages that exceeds $15,000.00 exclusive of attorneys' fees

      and costs.

                2.      Jurisdiction and venue for purposes of this action are conferred by Florida

      Statutes, Section 559.77.

                3.      At all material times herein, the conduct of Defendant, complained of below,

      occurred in Pinellas County, Florida.
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                   4.     At all times herein, Plaintiffs are individuals residing in Pinellas County, Florida.

                   5.     Defendant is a national association that, itself and through its subsidiaries,

           regularly extends credit to consumers in Pinellas County, Florida.

                                             GENERAL ALLEGATIONS

                   6.     At all times herein, Defendant is a "creditor" as defined by Florida Statutes,

           Section 559.55(3).

                   7.     At all times herein, Defendant attempts to collect a debt, specifically a home loan

           referenced by account number ending -0001 (hereinafter, "the Debt").

                   8.     At all times herein, the Debt was a consumer debt, incurred primarily for

          . personal, household or-family use.

                   9.     At all times herein, Defendant was a "person" as defined by the FCCPA, Florida

           Statutes, Section 559.55(3). See Schauer v. General Motors Acceptance Corp., 819 So. 2d 809

           (Fla. 4th DCA 2002).

                   10.    At all times herein, Defendant's conduct, with regard to the Debt complained of

           below, qualifies as "communication" as defined by Florida Statutes, Section 559.55.

                   11.    At all times herein, Defendant acted itself or through its agents, employees,

           officers, members, directors, successors, assigns, principals, trustees, sureties, subrogees,

           representatives, third-party vendors and insurers.

                   12.    All necessary conditions precedent to the filing of this action occurred or have

           been waived by Defendant.

                                            FACTUAL ALLEGATIONS

                   13.    At all times herein, Plaintiffs' cellular telephone number is 727.492.8567.

                   14.    At all times herein, it would have been possible for Defendant to avoid violating

           the tenns of the TCP A.

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            15.    Defendant's telephone calls, as more specifically alleged below, were made to

   Plaintiff Deborah Rozelle's work telephone number (hereinafter, "work phone") and to

   Plaintiffs' cellular telephone number 727.492.8567 (hereinafter, "cellular phone") using an

   automatic telephone dialing system (hereinafter, "auto-dialer") or an artificial or pre-recorded

   voice.

            16.    Defendant's calls were made in willful and knowing violation ofthe TCPA.

            17.    Plaintiffs' are the owner, regular user, and possessor of a cellular telephone, with

   the assigned number 727.492.8567.

            18.   As a direct result of Defendant's actions, as described herein, Plaintiffs have

   suffered severe stress,' anxiety, inco~venience, and frustration, believing that the hiring- of

   COWlsel regarding the Debt was altogether ineffective, and that the repeated, continual

   automatically-dialed Debt collection calls to Plaintiffs' cellular phone and work phones would

   simply have to be endured.

            19.   On June 10, 2013, at approximately 8:30 a.m., Defendant called Plaintiff,

   Deborah Rozelle (hereinafter, "Mrs. Rozelle") at her place of employment using an auto-dialer

   from telephone number 1.800.944.4601 in an attempt to collect the Debt.

            20.   During the immediately aforementioned call, Mrs. Rozelle spoke with

   Defendant's agent or representative, "Courtney," and notified Defendant of Undersigned

   Counsel's representation.    Mrs. Rozelle further stated that she was not able to speak with

   Defendant at work.

            21.   On or about June 11,2013, Undersigned Counsel provided Defendant with notice

   of representation of Plaintiffs with regard to the Debt via facsimile.

            22.   Undersigned Counsel provided Defendant with Undersigned Counsel's contact

   information and instructed Defendant to cease communicating with Plaintiffs regarding the Debt




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    and to direct any future conununications to Undersigned Counsel's office.

            23.     By sending the written notice to Defendant, Undersigned Counsel further revoked

    Plaintiffs' consent - if such consent ever existed - to call Plaintiffs' cellular phone using an auto-

    dialer. Please see attached a true and correct copy of said notice labeled as Exhibit "AI-A5."

            24.     On or about June 14, 2013, Defendant called Mrs. Rozelle's place of employment

    on her work number, a total of three (3) times using an        auto~dialer_   from telephone number

    515.324.9377 in an attempt to collect the Debt.

            25.     On or about June 17, 2013, at approximately 11 :00 a.m., Defendant called Mrs.

    Rozelle's place of employment on her work number, using an auto-dialer from telephone number

- - -5l5.324:93Tiin an attem-pt to collect the Debt.

            26.     On or about June 17, 2013, at approximately 4:03 p.m., Defendant called Mrs.

    Rozelle's cellular phone using an auto-dialer from telephone number 515.324.9377 in an attempt'

    to collect the Debt.

            27.     On Or about June 17, 2013, at approximately 4:05 p.m., Defendant called Mrs.

    Rozelle's place of employment on her work number, using an auto-dialer from telephone number

    515.324.9377 in an attempt to collect the Debt.

            28. -   On or about June 17, 2013, at approximately 8: 19 p.m., Defendant called Mrs.

    Rozelle's place of employment on her work number, using an auto-dialer from telephone number

    515.324.9377 in an attempt to collect the Debt. Defendant left a voicemail requesting that Mrs.

    Rozelle call telephone number 1.800.944.4601.

            29.     On or about June 18, 2013, at approximately 9:28 a.m., Defendant called Mrs.

    Rozelle's place of employment on her work number, using an auto-dialer from telephone number

    515.324.9377 in an attempt to collect the Debt.

            30.     On or about June 19, 2013, at approximately 9:06 a.m., Defendant called Mrs.
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                Rozelle's place of employment on her work number, using an auto-dialer from telephone number

                1.800.944.460 I in an attempt to collect the Debt.

                            3 I.    On or about June 19, 2013, at approximately 10:49 a.m., Defendant called

                Plaintiffs' cellular phone using an auto-dialer from telephone number 1.800.944.460 I in an

                attempt to collect the Debt.

                            32.     On or about June 19,2013, at approximately 10:50 a.m., Defendant called Mrs.

                Rozelle's place of employment on her work number, using an auto-dialer from telephone number

                1.800.944.460 I in an attempt to collect the Debt.

                            33.    . During the irrunediately aforementioned call Mrs. Rozelle spoke with Defendant's

             .-- representative or agent,' "Anthony," and again--advised that Pla{ntiffs were represented            by
               Undersigned Counsel. Mrs. Rozelle then told Defendant's agent that she could not speak with

               him during the work day and while she was at work.

                        34.         On or about June 24, 2013, at approximately 9:00 a.m., Defendant called Mrs.

               Rozelle's place of employment on her work number, using an auto-dialer from telephone number

                1.800.944.4601 in an attempt to collect the Debt. Said call was automatically disconnected after

               Mrs. Rozelle answered her phone.

                            35.     On or about June 24, 2013, at approximately 10:26 a.m., Defendant called Mrs.

               Rozelle's place of employment on her work number, using an auto-dialer from telephone number

                1.800.944.460 I in an attempt to collect the Debt. Said call was automatically disconnected after

               Mrs. Rozelle answered her phone.

                        36.         On or about June 25, 2013, Defendant called Mrs. Rozelle's place of employment

               on her work number, using an auto-dialer from telephone number 1.800.944.4601 in an attempt

               to collect the Debt.

                        37.        During the irrunediately aforementioned call, Mrs. Rozelle again spoke with




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    Defendant's agent or representative, "Courtney."

           38.     Mrs. Rozelle reminded Courtney that they had spoken previously and that

    Plaintiffs had notified Defendant of Undersigned Counsel's representation of Plaintiffs regarding

    the Debt.

           39.     Courtney stated, "Oh, I see that." Mrs. Rozelle advised Courtney that Defendant

    was breaking the law by continuing to call her and notified Courtney that she had to hang up

    because she was at her place of employment.

           40.     Mrs.   Rozelle's    supervisor    overheard    the    immediately   aforementioned

    conversation and inquired into what it was about. Mrs. Rozelle felt harassed and embarrassed as

   -it result of her supervisor overhearing thIs private, personal conversation.-·-
           41.     On or about June 28,2013, at approximately 11:30 am., Defendant called Mrs.

    Rozelle's place of employment on her work number, using an auto-dialer from telephone number

    1.800.944.4601 in an attempt to collect the Debt. Said call was automatically disconnected after

    Mrs. Rozelle answered her phone.

           42.     On or about June 28, 2013, at approximately 3 :24 p.m., Defendant called Mrs.

    Rozelle's place of employment on her work number, using an auto-dialer from telephone number

   515.324.9377 in an attempt to collect the Debt.

           43.     During the immediately aforementioned call, Mrs. Rozelle s spoke with

    Defendant's agent or representative, "Marlin," and again instructed Defendant to stop calling her

   at her place of employment.

           44.    Mrs. Rozelle's supervisor agam overheard the immediately aforementioned

   conversation. Mrs. Rozelle suffered more embarrassment as a result.

           45.     On or about July 8, 2013, Undersigned Counsel sent Defendant a second notice of

   representation of Plaintiffs with regard to the Debt via facsimile.
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                              46.      Undersigned Counsel again provided Defendant with Undersigned Counsel's

                 contact infonnation.

                              47.      Undersigned Counsel again instructed Defendant to cease communicating with

                 Plaintiffs regarding the Debt and to direct any future conuilunications to Undersigned Counsel's

                 office. Please see attached a true and correct copy of said notice labeled as Exhibit "B I-B5."

                              48.      On or about July 8, 2013, at approximately 10:03 a.m., Defendant called

                 Plaintiffs' cellular phone using an auto-dialer from telephone number 1.800.944.4601 in an

                 attempt to collect the Debt. Defendant left a voicemail requesting that Plaintiffs return the call.

                              49.      On or before July 9, 2013, Defendant sent Plaintiffs a collection letter in an
                  .-     .         .
                attempt to collect the Debt.

                              50.      Said collection letter contained the following language: "This communication is

                an attempt to collect a debt and any information obtained will be used for that purpose." Please

                see attached a true and correct copy of said collection' letter labeled as Exhibit ICC l-C4."

                             51.       On or about July 9, 2013, at approximately 9: 10 a.m., Defendant called Mrs.

                Rozelle's place of employment on her work number, using an auto-dialer from telephone number

                515.324.9377 in an attempt to collect the Debt. Said call was automatically disconnected after

                Mrs. Rozelle answered her phone.

                             52.       On or about July 9, 2013, at approximately 11:09 a.m., Defendant called Mrs.

                Rozelle's place of employment on her work number, using an auto-dialer from telephone number

                515.324.9377 in an attempt to collect the Debt. Said call was automatically disconnected after

                Mrs. Rozelle answered her phone.

                             53.       On or about July 10, 2013, at approximately 2:55 p.m., Defendant called Mrs.

                Rozelle's place of employment on her work number, using an auto-dialer from telephone number

                515.324.9377 in an attempt to collect the Debt. Said call was automatically disconnected after




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   Mrs. Rozelle answered her phone.

           54.     On or about July 10, 2013, at approximately 8:50 a.m., Defendant called

   Plaintiffs' cellular phone using an auto-dialer from telephone number 515.324.9377 in an attempt

   to collect the Debt.

           55.     On or about July 10, 2013, at approximately 1:43 p.m., Defendant called

   Plaintiffs' cellular. phone using an auto-dialer from telephone number 1.800.944.4601 in an

   attempt to collect the Debt.

           56.    On or about July 10, 2013, at approximately 2:54 p.m., Defendant called

   Plaintiffs' cellular phone using an auto-dialer from telephone number 515.324.9377 in an attempt

   to collecfthe De bi .-

          57.     On or about July   to, 2013, at approximately 5:13 p.m., Defendant called Mrs.
   Rozelle's place of employment on her work number, using an auto-dialer from telephone number

   1.800.944.4601 in an attempt to collect the Debt.

          58.     During the immediately aforementioned call, Mrs. Rozelle spoke with

   Defendant's agent or representative, "Ester Roth."

          59.     Mrs. Rozelle again advised Defendant that Plaintiffs were represented by

   Undersigned Counsel regarding the Debt.

          60.     Mrs. Rozelle advised Ms. Roth that Defendant was breaking the law· by

   continuing to call her and would turn her name over to Undersigned Counsel.

          61.     Mrs. Rozelle notified Ms. Roth that she had to hang up because she was at her

   place of employment and could not receive personal phone calls, such as Defendant's Debt

   collection calls, at her place of employment.

          62.     Mrs. Rozelle's supervisor again overheard the immediately aforementioned. Mrs.

   Rozelle felt harassed and embarrassed as a result of her supervisor overhearing this conversation.
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                     63.    On or about July 11, 2013, at approximately 9:11 a.m., Defendant called Mrs.

        Rozelle's place of employment on her work number, using an auto-dialer from telephone number

        515.324.9055 in an attempt to collect the Debt. Said call was automatically discolUlected after

        Mrs. Rozelle answered her phone.

                     64.    On or about July 11, 2013, at approximately 11:07 a.m.,-Defendant called Mrs.

        Rozelle's place of employment on her work number, using an auto-dialer from telephone number

        515.324.9055 in an attempt to collect the Debt. Said call was automatically discolUlected after

     Mrs. Rozelle answered her phone.

                     65.    On or about July 12, 2013, at approximately 8:58 a.m., Defendant called Mrs.

     Rozelle's p'lace of emplo~~nt'on her work number, using an auto-dialer fr~m telephone number

     515.324.9055 in an attempt to collect the Debt. Said call was automatically discolUlected after

     Mrs. Rozelle answered her phone.

                     66.    On or about July 12, 2013, at approximately 10:57 a.m., Defendant called Mrs.

     Rozelle's place of employment on her work number, using an auto-dialer from telephone number

     515.324.9055 in an attempt to collect the Debt. Said call was automatically disconnected after

     l\1rs. Rozelle answered her phone.

                     67.    On or about July 12, 2013, at approximately 3:18 p.m., Defendant called Mrs.

     Rozelle's place of employment on her work number, using an auto-dialer from telephone number

     515.324.9055 in an attempt to collect the Debt. Said call was automatically discolUlected after

     Mrs. Rozelle answered her phone.

                     68.    On or about July 12, 2013, at approximately 4:25 p.m., Defendant called Mrs.

     Rozelle's place of employment on her work number, using an auto-dialer from telephone number

     515.324.9055 in an attempt to collect the Debt. Said call was automatically discolUlected after

     Mrs. Rozelle answered her phone.




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            69.     On or about July 13, 2013, at approximately 4:13 p.m., Defendant called Mrs.

    Rozelle's place of employment on her work number, using an auto-dialer from telephone number

    515.324.9055 in an attempt to collect the Debt. Defendant left a voicemail requesting that

    Plaintiffs call telephone number 866.767.5948.

            70.     On or about July 15, 2013, at approximately 9:13 a.m., Defendant called Mrs.

    Rozelle's place of employment on her work number, using an auto-dialer from telephone number

    515.324.9055 in an attempt to collect the Debt

            71.     On or about July 15,2013, at approximately 11:51 a.m., Defendant called Mrs.

    RozeIle's place of employment on her work number, using an auto-dialer from telephone number

    515.324.90'55 in an attempt to collea the Debi.-                         .... -- .--

            72.     Plaintiffs have retained Leavengood, Nash, Dauval & Boyle, P.A. for the purpose

    of pursuing this matter against Defendant and are obligated to pay their attomeys a reasonable

   fee for their services.

            73.     Florida Statutes, Section 559.77 provides for the award of up to $1,000.00

    statutory damages per independent, temporarily displaced violation and an award of attorneys'

    fees and costs to Plaintiffs should Plaintiffs prevail in this matter.

            74.     United States Code Title 47 Section 227(b)(3) provides for the award of $500.00

    or actual damages, whichever is greater, for each telephone call made using any automatic

    telephone dialing system or an artificial or pre-recorded voice to Plaintiffs' cellular telephone in

    violation of the TCPA or the regulations proscribed thereunder.

            75.     Additionally, the TCPA, Section 227(b)(3) allows the trial court to increase the

    damages up to three times, or $1,500.00, for each telephone call made using any automatic

    telephone dialing system or an artificial or prerecorded voice to Plaintiffs' cellular phone in

    willful or knowing violation of the TCPA or the regulations proscribed thereunder.
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            76.       At all times herein, it would have been possible for Defendant to avoid violating

    the tenns of the TCP A.

            77.       At all times herein, Defendant did not have Plaintiffs' prior express consent to use

    an automatic telephone dialing system or artificial or pre-recorded voice when calling Plaintiffs'

    cellular phone.

            78.       Upon infonnation and belief, based upon the           aforeme~tjon~d    allegations,

    Plaintiffs believe that Defendant telephone calls made to Plaintiffs' cellular telephone using an

    automatic telephone dialing system or an artificial or pre-recorded voice were made in willful

    and knowing violation of the TCPA.

            79:- As of the date ofthiscoinplaint, Defendant has not initiated a law suit in an'effort-
    to collect the Debt Likewise, no final judgment regarding the Debt has been obtained by, or

    transferred to, Defendant.

                           COUNTS ONE THROUGH TWENTY-SEVEN:
                           UNFAIR DEBT COLLECTION PRACTICE-
                      VIOLATION OF FLORIDA STATUTES SECTION 559.72(4)

            Plaintiffs re-allege paragraphs one (1) through seventy-nine (79) as if fully restated herein

    and further state as follows:

            80.       Defendant is subject to, and has violated provisions of, Florida Statutes,

    Section 559.72(4) by communicating or threatening to communicate with Plaintiff Mrs.

    Rozelle's employer without her consent or first obtaining a final judgment against Plaintiffs.

            81.       Despite being advised by Mrs. Rozelle on several occasions that Mrs. Rozelle

    could not receive personal calls at work and despite receiving actual knowledge of Undersigned

    Counsel's representation of Plaintiffs with regard to the Debt, Defendant repeatedly and

    continuously called Mrs. Rozelle's place of employment.
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                       82. .                Defendant's Debt collection calls, in light of Mrs. Rozelle's repeatedly asking

           Defendant to cease such calls, yet Defendant continuing to call, taken collectively, threatened

           Mrs. Rozelle with continued Debt collection calls at her place of employment until the Debt was

           paid.

                      83.                   Specifically, Plaintiff alleges the following independent, temporally displaced

           factual allegations that support Defendant's violations of Florida Statutes, Section 559.72(4):

                                                                                           COUNT ONE

                                            a.           On or about June 10, 2013, at approximately 8:30 a.m., Defendant called

                      Mrs. Rozelle's place of employment from telephone number 1.800.944.460 I in an

                      attempf to collect the Debt.

                                                                                          COUNT TWO

                                            b.           On or about June 14, 2013, Defendant called Mrs. Rozelle's place of

                      employment three (3) times from telephone number 515.324.9377 in an attempt to collect

                      the Debt.

                                                                                        COUNT THREE

                                            c.           On or about June 17,2013, at approximately 11:00 a.m., Defendant called

                      Mrs. Rozelle'S place of employment from telephone number 515.324.9377 in an attempt

                      to collect the Debt.

                                                                                         COUNT FOUR

                                            d.       On' or about June 17, 2013, at approximately 4:03 p.m., Defendant called

                     Mrs. Rozelle's place of employment from telephone number 515.324.9377 in an attempt

                     to collect the Debt.




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                                                                                                                         COUNT FIVE

                                                                e.              On or about June 17,2013, at approximately 4:05 p.m., Defendant called

                                            Mrs. Rozelle's place of employment from telephone number 515.324.9377 in an attempt

                                            to collect the Debt.

                                                                                                                          COUNT SIX

                                                                £               On or about June 17,2013, at approximately 8:19 p.m., Defendant called·

                                            Mrs. Rozelle's place of employment from telephone number 515.324.9377 in an attempt

                                            to collect the Debt.

                                                                                                                       COUNT SEVEN

                                                                g.              On or about JUne 18, 2013, at approximately 9:28 am., Defendant called

                                            Mrs. Rozelle's place of employment from telephone number 515.324.9377 in an attempt

                                            to co Hect the Debt.

                                                                                                                       COUNT EIGHT

                                                                h.              On or about June 19, 2013, at approximately 9:06 a.m., Defendant called

                                            Mrs. Rozelle's place of employment. from telephone number 1.800.944.4601 in an

                                            attempt to collect the Debt.

                                                                                                                         COUNT NINE

                                                                i.              On or about June 19,2013, at approximately 10:50 a.m., Defendant called

                                            Mrs. Rozelle's place of employment from telephone number 1.800.944.4601 in an

                                            attempt to collect the Debt.

                                                                                                                          COUNT TEN

                                                                j.              On or about June 24, 2013, at approximately 9:00 a.m., Defendant called

                                            Mrs. Rozelle's place of employment from telephone number 1.800.944.4601 in an

                                             attempt to collect the Debt.




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                                           COUNT ELEVEN

                k.      On or about June 24, 2013, at approximately 10:26 a.m., Defendant called

        Mrs. Rozelle's place of employment from telephone number 1.800.944.460 I in an

        attempt to collect the Debt.

                                          COUNT TWELVE

                I.      On or about June 25, 2013, Defendant called Mrs. Rozelle's place of

        employment from telephone number 1.800.944.4601 in an attempt to collect the Debt.

                                          COUNT THIRTEEN

                m.      On or about June 28, 2013, at approximately 11:30 a.m., Defendant called

        Mrs. Rozelle"s phice' of employment from telephone number 1.800.944.4601 in an

        attempt to collect the Debt.

                                          COUNT FOURTEEN

                n.      On or about June 28, 2013, at approximately 3:24 p.m., Defendant called

        Mrs. Rozelle's place of employment from telephone number 515.324.9377 in an attempt

        to collect the Debt.

                                          COUNT FIFTEEN

                o.      On or about July 9, 2013, at approximately 9: 10 a.m., Defendant called

        Mrs. Rozelle's place of employment from telephone number 515.324.9377 in an attempt

        to collect the Debt.

                                          COUNT SIXTEEN

               p.       On or about July 9, 2013, at approximately 11:09 a.m., Defendant called

        Mrs. Rozelle's place of employment from telephone number 515.324.9377 in an attempt

        to collect the Debt.




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              II.   ~.




                                                   COUNT SEVENTEEN

                               q.     On or about July 10,2013, at approximately 2:55 p.m., Defendant called

                         Mrs. Rozelle's place of employment from telephone number 515.324.9377 in an attempt

                     to collect the Debt.

                                                    COUNT EIGHTEEN

                               r.     On or about July 10, 2013, at approximately 5:13 p.m., Defendant called

                     Mrs. Rozelle's place of employment from telephone number 1.800944.4601 in an attempt

                     to collect the Debt.

                                                    COUNT NINETEEN

                               s.     On or a~oui Jufy-ll~2013, at approximat~ly 9:11 a.m., Defendant called

                     Mrs. Rozelle's place of employment from telephone number 515.324.9055 in an attempt

                     to collect the Debt.

                                                     COUNT TWENTY

                               t.     On or about July 11, 2013, at approximately 11 :07 a.m., Defendant called

                     Mrs. Rozelle's place otemployment from telephone number 515.324.9055 in an attempt

                    to collect the Debt.

                                                  COUNT TWENTY-ONE

                               u.     On or about July 12,2013, at approximately 8:58 a.m., Defendant called

                     Mrs. Rozelle's place of employment from telephone number 515.324.9055 in an attempt

                    to collect the Debt.

                                                 COUNT TWENTY-TWO

                               v.     On or about July 12, 2013, at approximately 10:57 a.m., Defendant called

                     Mrs. Rozelle's place of employment from telephone number 515.324.9055 in an attempt

                    to collect the Debt.


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                                     COUNT TWENTY-THREE

                  w.      On or about July 12,2013, at approximately 3:18 p.m., Defendant called

          Mrs. Rozelle's place of employment from telephone number 515.324.9055 in an attempt

          to collect the Debt.

                                     COUNT TWENTY-FOUR

                  x.      On or about July 12,2013, at approximately 4:25 p.m., Defendant called

          Mrs. Rozelle's place of employment from telephone number 515.324.9055 in an attempt

          to collect the Debt.

                                      COUNT TWENTY-FIVE

                  y.On-or about July 13,2013, at approximately 4:13 p.m., Defendant called

          Mrs. Rozelle's place of employment from telephone number 515.324.9055 in an attempt

          to collect the Debt.

                                      COUNT TWENTY-SIX

                  z.      On or about July 15, 2013, at approximately 9: 13 a.m., Defendant called

          Mrs. Rozelle's place of employment from telephone number 515.324.9055 in an attempt

          to collect the Debt.

                                    COUNT TWENTY-SEVEN

                  aa.    On or about July 15, 2013, at approximately II :51 a.m., Defendant called

          Mrs. Rozelle's place of employment from telephone number 515.324.9055 in an attempt

          to collect the Debt.

          84.     As a direct and proximate result of Defendant's actions, Plaintiff Mrs. Rozelle has

   sustained damages as defined by Florida Statutes, Section 559.77.

          WHEREFORE, Plaintiff Mrs. Rozelle requests this Court enter a judgment against

   Defendant for $1,000.00 statutory damages per independent, temporarily displaced" violation,
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   actual damages, costs, attorneys' fees and such other equitable relief this Court deems

   appropriate.

                                   COUNT TWENTY-EIGHT:
                            UNFAIR DEBT COLLECTION PRACTICE-
                       VIOLATION OF FLORIDA STATUTES SECTION 559.72(7)

               Plaintiffs re-allege paragraphs one (1) through seventy-nine (79) as iffully restated herein

   and further state as follows:

               85.    Defendant is subject to, and has violated provisions of, Florida Statutes,

   Section 559.72(7) by collecting consumer Debt from Plaintiffs through means which can

   reasonably be expected to abuse or harass Plaintiffs.

               86.    Specific~i1ly, Defendant m~de numerous collection calls to both Plaintiffs' cellular

   phone and Plaintiff Mrs. Rozelle's place of employment, despite actual knowledge of

   Undersigned Counsel's representation and actual knowledge that Plaintiff Mrs. Rozelle was

   prohibited from receiving said calls at work.

               87.    Furthennore, Plaintiff Mrs. Rozelle's supervisor overheard at least three

   conversations regarding the Debt.

               88.    Plaintiffs have suffered severe stress, anxiety, inconvenience, and frustration as a

   result of the collection attempts.

               89.    Defendant's willful and flagrant violation of, inter alia, the Florida Consumer

   Collections Practices Act as a means to collect a Debt, constitutes unlawful conduct and

   harassment as is contemplated under Florida Statutes, Section 559.72(7).

               90.    As a direct and proximate result of Defendant's actions, Plaintiffs have sustained.

   damages as defined by Florida Statutes, Section 559.77.




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           WHEREFORE, Plaintiffs request this Court enter a judgment against Defendant for

   $1,000.00 statutory damages, actual damages, costs, attorneys' fees and such other equitable

   relief this Court deems appropriate.

                       COUNTS TWENTY-NINE THROUGH FIFTY-ONE
                         UNFAIR DEBT COLLECTION PRACTICE -
                    VIOLATION OF FLORIDA STATUTES SECTION 559.72(18)

           Plaintiffs re-allege paragraphs one (1) through seventy-nine (79) as iffully restated herein

   and further state as follows:

           91.      Defendant is subject to, and has 'violated provisions of, Florida Statutes,

   Section 559.72(18) by intentional1y and repeatedly communicating with Plaintiffs after being

  ."given-actUal notice that PIWritiffs waS represented by coun~ei with-~eg~d t~ the underiyi~g Debt.

           92.      Despite receiving several notices of Undersigned Counsel's representation of

   Plaintiffs regarding the Debt both from Undersigned Counsel and from Plaintiffs, Defendant

   continued communicating with Plaintiffs regarding the Debt by making collection calls to

   Plaintiffs' cellular telephone and Plaintiff Mrs. Rozelle's work phone and by sending a col1ection

   letter in attempts to collect the Debt. See Exhibits "AI-AS," "B I-B5," and "C l-C4."

          93.       Specifically, Plaintiff alleges the following independent, temporally displaced

   factual allegations that support Defendant's violations of Florida Statutes, Section 559.72(18):

                                      COUNT TWENTY-NINE

                    a      On or about June 14, 2013, Defendant called Mrs. Rozelle's place of

          employment three (3) times from telephone number 515.324.9377 in an attempt to collect

          the Debt.




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  · -   -. .
                                            COUNT TIDRTY

                   b.      On or about June 17, 2013, at approximately II :00 a.m., Defendant called

           Mrs. Rozelle's place of employment from telephone number 515.324.9377 in an attempt

           to collect the Debt.

                                          COUNT THIRTY·ONE

                   c."   __ On or about June 17,2013, at approximately 4:03 p.m., Defendant called

           Plaintiffs' cellular phone from telephone number 515.324.9377 in an attempt to collect

           the Debt.

                                          COUNT THIRTY·TWO

                  d.- On-or about June i 7,"20"13,- at approximately 4:05 p.m., Def~ndant called"
           Mrs. Rozelle's place of employment from telephone number 515.324.9377 in an attempt

           to collect the Debt.

                                      COUNT THIRTY·THREE

                  e.       On or about June 17,2013, at approximately 8:19 p.m., Defendant called

           Mrs. Rozelle's place of employment from telephone number 515.324.9377 in an attempt

           to collect the Debt.

                                          COUNT THIRTY·FOUR

                  f.      On or about June 18,2013, at approximately 9:28 a.m., Defendant called

           Mrs. Rozelle's place of employment from telephone number 515.324.9377 in an attempt

           to collect the Debt.

                                          COUNT TIDRTY·FIVE

                  g.      On or about June 19,2013, at approximately 9:06 am., Defendant called

           Mrs. Rozelle'S place of employment from telephone number 1.800.944.4601 in an

           attempt to collect the Debt.
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                                        COUNT THIRTY-SIX

                h.     On or about June 19, 2013, at approximately 10:49 a.m., Defendant called

         Plaintiffs' cellular phone from telephone number 1.800.944.460 I in an attempt to collect

         the Debt.

                                       COUNT TIDRTY-SEVEN

                1.     On or about June 19, 2013, at approximately 10:50 a.m., Defendant called

        Mrs. Rozelle's place of employment from telephone nwnber 1.800.944.4601 in an

        attempt to collect the Debt.

                                       COUNT THIRTY-EIGHT

                J.     On or -about June 24, 2013, 'at approxi~ately 9:00 a·.m., Defendant called

        Mrs. Rozelle's place of employment from telephone number 1.800.944.4601 in an

        attempt to collect the Debt.

                                       COUNT THIRTY-NINE

                k.     On or about June 24, 2013, at approximately 10:26 a.m., Defendant called

        Mrs. Rozelle's place of employment from telephone number 1.800.944.4601 in an

        attempt to collect the Debt.

                                          COUNT FORTY

                1.     On or about June 25, 2013, Defendant called Mrs. Rozelle's place of

        employment from telephone number 1.800.944.460 I in an attempt to collect the Debt.

                                        COUNT FORTY-ONE

                m.     On or about June 28, 2013, at approximately II :30 a.m., Defendant called

        Mrs. Rozelle's place of employment from telephone nwnber 1.800.944.4601 in an

        attempt to collect the Debt.
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                                      COUNT FORTY-TWO

                 n.      On or about June 28, 2013, at approximately 3:24 p.m., Defendant called

         Mrs. Rozelle's place of employment from telephone number 515.324.9377 in an attempt

         to collect the Debt.



                                     COUNT FORTY-THREE

                 o.      On or about July 8, 2013, at approximately 10:03 a.m., Defendant called

         Plaintiffs' cellular phone from telephone number 1.800.944.4601 in an attempt to collect

         the Debt.

                                     COUNT FORtY~FOUR

                 p.      On or before July 9, 2013, Defendant sent Plaintiffs a collection letter in

         an attempt to collect the Debt. See Exhibit "C I-C4."

                                      COUNT FORTY-FIVE

                 q.      On or about July 9, 2013, at approximately 9:10 a.m., Defendant called

         Mrs. Rozelle's place of employment from telephone number 515.324.9377 in an attempt

         to collect the Debt.

                                       COUNT FORTY-SIX

                 r.      On or about July 9, 2013, at approximately II :09 a.m., Defendant called

         Mrs. Rozelle's place of employment from telephone number 515.324.9377 in an attempt

         to collect the Debt.

                                    COUNT FORTY-SEVEN

                 s.      On or about July 10, 2013, at approximately 2:55 p.m., Defendant called

         Mrs. Rozelle's place of employment from telephone number 515.324.9377 in an attempt

         to collect the Debt.




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                                                                 COUNT FORTY~EIGHT

                                        t.    On or about July 10, 2013, at approximately 8:50 a.m., Defendant called

                               Plaintiffs' cellular phone from telephone number 515.324.9377 in an attempt to collect

                               the Debt.

                                                                  COUNT FORTY ~NINE

                                        u.    On or about July 10, 2013, at approximately 1:43 p.m., Defendant called

                               Plaintiffs' cellular phone from telephone number 1.800.944.460 I in an attempt to collect

                               the Debt.

                                                                    COUNT FIFTY

                                       v.     On or ail-out July 1O~ 2013, at approximately 2:54 p.m., Defendant called

                               Plaintiffs' cellular phone from telephone number 515.324.9377 in an attempt to collect

                               the Debt.

                                                                  COUNT FIFTY ~ONE

                                       w.     On or about July 10,2013, at approximately 5:13 p.m., Defendant called

                               Mrs. Rozelle's place of employment from telephone number 1.800.944.4601 in an

                               attempt to collect the Debt.

                               94.     As a direct and proximate result of Defendant's actions, Plaintiffs have sustained

                  damages as defined by Florida Statutes Section 559.77.

                               WHEREFORE, Plaintiffs request this Court enter a judgment against Defendant for

                  $],000.00 statutory damages per independent violation, actual damages, costs, attorneys' fees

                  and such other equitable relief this Court deems appropriate.




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                                           COUNT FIFTY-TWO:
                                 TELEPHONE CONSUMER PROTECTION ACT-
                                     VIOLATION OF 47 U.S.C. 227(b)(ll(A)

                   Plaintiffs re-allege paragraphs one (I) through seventy-nine (79) as iffully restated herein

           and further state as follows:

                   95.    Defendant is subject to, and has violated the provisions of, 47 U.S.C. 227

           (b)(l)(A) by using an automatic telephone dialing system or an artificial or pre-recorded voice to

           call a telephone number assigned to a cellular telephone service without Plaintiffs' prior express

           consent.

                  96.     To the· extent Defendants did have such prior express consent, such consent was

          -revoked upon Defendant's receipt of written notice of Undersigned Counsel's representation of

          Plaintiffs regarding the Debt. Said notice explicitly stated that any prior express consent was

          revoked. See Exhibit "AI-A2."

                  97.     Furthermore, such consent was revoked numerous times wherein Plaintiffs told

          Defendant not to call them again and told Defendant that they were represented by Undersigned

          Counsel with regard to the Debt.

                  98.     The phone calls made by Defendant complained of herein are the result of a

          repeated willful and knowing violation of the TCPA, and Defendant placed at least twenty-three

          (23) unlawful calls to Plaintiffs' cellular telephone.

                  99.     As a direct and proximate result of Defendant's conduct, Plaintiffs have suffered:

                          a.      The periodic loss of cellular phone service;

                          b.      Lost material costs associated with the use of peak time cellular phone

                          minutes allotted under their cellular phone service contract.

                          c.      The expenditure of costs and attorney's fees associated with the

                  prosecution of this matter, along with other damages which have been lost;




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                         d.      Stress, anxiety, loss of sleep, and deterioration of relationships, both

                 personal and professional, as a result of the repeated willful and knowing calls placed in

                 violation of the TePA; and

                         e.      Statutory damages.

                 WHEREFORE, Plaintiffs request this Court enter a judgment against Defendant for

         $500.00 statutory damages per violation of the TCPA, treble statutory damages per knowing and

         willful violation of the TCPA, actual damages, costs, interest, including but limited to those

         awardable pursuant to the TePA, and such other equitable relief this Court deems appropriate.

                        SPOLIATION NOTICE AND DEMAND TO RETAIN EVIDENCE

                 100.    Plaintiff hereby gives notice to Defendant and demands that Defendant and its

         affiliates safeguard all relevant evid~mce-paper or electronic documents or data-pertaining to.

         this potential litigation as required by law.

                                             DEMAND FOR JlJRY TRIAL

                 101.    Plaintiffs hereby demand a trial by jury on all issues triable by right.

                                                                 Respectfully Submitted,
                                                                 LEA VENGOOD & NASH


                                                                 /s/ Aaron M Swift
                                                                 DIan R. Leavengood, Esq., FBN 10167
                                                                 (Xl Aaron M. Swift, Esq., FBN 93088
                                                                 3900 First Street North, Suite 100
                                                                 Sf. Petersburg, FL 33703
                                                                 Phone: (727) 327-3328
                                                                 Fax: (727) 327-3305
                                                                 aswift@leavenlaw.com
                                                                 consumerservice@leavenlaw.com
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                               VERIFICATION OF COMPLAINT AND CERTIFICATION

          STATE OF FLORIDA                                 )
                                                           )
          COUNTY OF PINELLAS                               )

          Plaintiffs DEBORAH ROZELLE, having first been duly sworn and upon oath, deposes and says as
          follows:

          1. I am a Plaintiff in this civil proceeding.

          2. I have read the above-entitled civil Complaint prepared by my attorney~ and I believe that all of

              the facts contained in it are true, to the best of my knowledge,               info~ation   and belief fonned

              after reasonable inquiry.

      3. .I believe that this civil Complaint is well grounded in fact and warranted by existing law or by a

              good faith argument for the extension, modification, or reversal of existing law.

      4. I believe that this civil Complaint is not interposed for any improper purpose, such as to harass

              any Defendant(s), cause unnecessary delay to any Defendant(s), or create a needless increase in

              the cost oflitigation to any Defendant(s), named in the Complaint.

      5. I have filed this civil Complrunt in good faith and solely for the purposes set forth in it.

      6. Each and every exhibit which has been attached to this Complaint, if any, is a true and correct

              copy of the original.

      7.. Except for clearly indicated redactions made by my attorneys where appropriate, I have not

              altered, changed, modified, or fabricated any exhibits, except that some of the attached exhibits,

              ifany, may contain some of my own handwri;



      Subscribed and sworn to before me
      this ~ day of DC. . :!     ,2013.

      My Commission Expires:                                          ProofofI.D.:_=~----==-_ _ _ __



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                                                 VERIFICATION OF COMPLAINT AND CERTIFICATION

                STATE OF FLORIDA                                              )
                                                                              )
                COUNTY OF PINELLAS                                            )

                Plaintiffs JOHN ROZELLE, having first been duly sworn and upon oath, deposes and says as
                foHows:

                I. I am a Plaintiff in this civil proceeding.

                2. I have read the above-entitled civil Complaint prepared by my attorneys and I believe tha~ aU of

                       the facts contained in it are true, to the best of my knowledge, information and belief formed

                       after reasonable inquiry.

                3. I believe that this civil Complaint is well grounded in fact and warranted by existing law or by a

                       good faith argument for the extension, modification, or reversal of existing law.

                4. I believe that this civil Complaint is not interposed for any improper purpose, such as to harass

                       any Defendant(s), cause unnecessary delay to any Defendant(s), or create a needless increase in

                       the cost of litigation to any Defendant(s), named in the Complaint.

                5. I have filed this civil Complaint in good faith and solely for the purposes set forth in it.

                6. Each and every exhibit which has been attached to this Complaint, if any, is a true and correct

                       copy of the original.

                7. Except for clearly indicated redactions made by my attorneys where appropriate, I have not

                       altered, changed, modified, or fabricated any exhibits, except that some of the attached exhibits,

                       if any, may contain some of my own hand:!i\Witten                    nolO?         -<



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